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                        UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO


  UNITED STATES OF AMERICA,
                                               Case No. 1:18-cr-00258-BLW

        Plaintiff,                             MEMORANDUM DECISION
                                               AND ORDER
         v.

  PAVEL BABICHENKO,
  PIOTR BABICHENKO,
  TIMOFEY BABICHENKO,
  KRISTINA BABICHENKO,
  DAVID BIBIKOV,
  ANNA IYERUSALIMETS, and
  MIKHAIL IYERUSALIMETS,

        Defendants.



      Before the Court is Defendant Piotr (Peter) Babichenko’s Objections to

Government’s Demonstrative Exhibits. (Dkt. 1456.) For the reasons discussed

below, the Court will sustain in part and overrule in part the objection.

      The Government has provided 12 proposed demonstrative exhibits to the

Defense. Peter Babichenko objects to two of those demonstratives: Exhibit D-2002

entitled “Employees”, and D-1400 entitled “Defendants Exhibit.” The Court will

examine each in turn.




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      A.     Employees Demonstrative (D-2002)

      Peter Babichenko contends that the Employees Demonstrative, D-2002,

includes “blatantly inaccurate information” in relation to him. First, he notes that

the demonstrative groups Anna and Michael Iyerusalimets, who are married,

together on one side, groups Tim and Kristina Babichenko, who are also married,

together on the other side, and then groups Peter with his brother, Pavel (Paul)

Babichenko, together in the middle. Peter contends that this makes it look as if he

and Paul were working together as a working entity. He further contends that there

is no evidence that he and Paul were working together as a working entity and that

grouping them together in the demonstrative thus lacks a factual basis and is

unnecessarily misleading.

      Second, Peter notes that some pages of the demonstrative show him and Paul

grouped together over six individuals, indicating that Peter and Paul together

employed these individuals and that these individuals worked for Peter and Paul

together. Peter contends that, again, this is factually inaccurate and misleading

because none of these employees ever worked for Peter and Paul together and,

further, that the evidence at the first trial showed that only two of these

individuals—Ivan Bukhanstov and Igor Bukhanstov—ever worked with Peter at

all, and that the remaining four individuals did not ever work for Peter. Finally,

Peter contends that even as to Ivan and Igor, neither of these individuals ever sold


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phones for Peter nor worked for Peter’s Amazon businesses.

       The Government does not directly respond to, or dispute, these contentions.

Instead, the Government asserts that evidence seized at the 12586 Bridger Street

Warehouse demonstrates that Defendants, including Peter and Paul, used a

common approach to run their businesses, including using young and

inexperienced employees to operate Amazon selling accounts, and that Defendants

also employed many of the same people throughout the charged conspiracy period.

The Government does not, however, argue that there is evidence showing that any

of the employees on the demonstrative, except Igor Bukhanstov and Ivan

Bukhanstov,1 worked for both Peter and Paul. The Government further does not

argue that there is evidence that Igor or Ivan worked for Peter and Paul together.

Finally, the Government does not argue that there is evidence that either Ivan or

Igor sold phones for Peter or worked for Peter’s Amazon businesses.

       Based on the lack of argument by the Government demonstrating otherwise,

the Court will sustain the objection to the extent Demonstrative D-2002 shows

Peter and Paul grouped together and shows Peter as associated with any of the



       1
          The Employees Demonstrative also included an employee named Vitalia Gotra. This
employee is not included in the revised Employees Demonstrative submitted by the Government.
(See, e.g., Kt. 1462, Lodged Exhibit D-2002.) The Court assumes, based on this revised version,
that Ms. Gotra will no longer be included in the Employees Demonstrative.



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“Employees” except Igor Bukhanstov and Ivan Bukhanstov.

      The Government has submitted a revised version of D-2002. (See Dkt. 1462,

Lodged Exhibits, Exhibit D-2002 (Revised D-2002.) This revised version appears

to address some of the concerns raised by Peter, but not all. Specifically, the

revised D-2002 still shows Peter and Paul grouped together on some of the pages.

(See, e.g., id. at pages 6, 7.) The Court will require the Government to modify

those pages such that Paul and Peter are no longer grouped together.

      B.     Defendants Exhibit Demonstrative (D-1400)

      Peter contends that the Defendants Exhibit Demonstrative (D-1400) includes

questionable and perhaps false information and is therefore not an appropriate

demonstrative exhibit.

      D-1400 is intended to summarize outgoing packages seized from the 12586

Bridger St Warehouse in the two days prior to Defendants’ arrest, and Page 9 of D-

1400 is intended to provide a graphic representation of the addresses, companies,

and individuals associated with those packages. On Page 9 of this demonstrative,

pictures of various individuals, including Peter and other Defendants, are placed

alongside the business names and addresses, indicating the businesses with which

the individuals are associated. On page 9, Peter’s photograph is placed next to two

companies—Remobile Mobile Recycle and Cubic Wireless—thus indicating that

Peter is associated with these businesses. Pages 15 and 16 of D-1400, in turn,


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provide more detailed information regarding Remobile and Cubic Wireless and

again include Peter’s photograph, indicating that he is associated with these two

businesses.

      Peter objects to the inclusion of his photographs as being associated with

either Remobile or Cubic Wireless.

              1. Remobile Mobile Recycle

      As to Remobile, Peter contends that the evidence—including testimony from

the Government’s own financial expert—shows that at the time these packages

were seized, Peter was no longer associated with Remobile and specifically that he

had left and had not been associated with Remobile, for over a year prior. Further,

Peter points out that he was acquitted of a sale from Remobile that occurred in

December 2017. The Government does not specifically respond to Peter’s assertion

regarding Remobile, and focuses, instead, on Cubic Wireless, discussed below.

      In light of the acquittal of Peter on charges related to a sale from Remobile

in 2017, and the Government’s failure to cite to any evidence supporting D-1400’s

linking of Peter with Remobile at the time the packages were seized in 2018, the

Court will sustain the objection to inclusion of Peter’s picture in D-1400 as being

associated with Remobile.




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             2. Cubic Wireless

      As to Cubic Wireless, Peter contends that there was no evidence during the

first trial demonstrating that Peter was financially involved with Cubic Wireless

and that D-1400 thus misrepresents the evidence. The Court disagrees.

      The Government has provided evidence indicating that Peter opened a Postal

Annex box linked via Amazon records to Cubic Wireless, and that Ana and

Mikhail Iyerusalimets were subsequently added to the box; that Peter is a signatory

on a bank account linked by Amazon records to Cubic Wireless and holds the bank

account with Mikhail Iyerusalimets; and that the individual who registered Cubic

Wireless as a limited liability company was, at the time, an employee of one of

Peter’s other businesses. (See, e.g., Exs. 1456 at 12; 1255 at 2; 1509 at 2; 1400 at

2.) Although Peter takes the position that he had exited Cubic Wireless and was no

longer part of that business when the packages were seized, there is evidence

linking Peter with Cubic Wireless. The Court will therefore overrule the objection

to inclusion of Peter’s picture in D-1400 as being associated with Cubic Wireless.

                                      ORDER

      IT IS ORDERED that Defendant Piotr (Peter) Babichenko’s Objections to

Government’s Demonstrative Exhibits (Dkt. 1456) is sustained in part and

overruled in part:




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           1. The objection is sustained to the extent Demonstrative D-2002

              shows Peter Babichenko and Paul Babichenko grouped together.

           2. The objection is sustained to the extent Demonstrative D-2002

              shows Peter as associated with any of the “Employees” except Igor

              Bukhanstov and Ivan Bukhanstov.

           3. The objection is sustained to the extent Demonstrative D-1400

              includes Peter’s picture as being associated with Remobile Mobile

              Recycle.

           4. The objections to D-2002 and D-1400 are otherwise overruled.

           5. To the extent the Government intends to use Demonstrative D-

              2002 or D-1400 during trial, the Government shall revise those

              demonstratives consistent with this Order and provide the revised

              versions to Defendants at least 24 hours prior to seeking to

              introduce them at trial, or by May 25, 2022, whichever is earlier.



                                           DATED: May 22, 2022


                                           _________________________
                                           B. Lynn Winmill
                                           U.S. District Court Judge




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